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t’etitioners, : uml’ut€'l` &
RECOMMENDATION

 

~against-
18-CV-11653 (JGK) (JLC)
XYZ Corp. et al.,
FILED UNDER SEAL
Respondents. :
_______________________________________________________________ X

JAMES L. COTT, United States Magistrate Judge.
To the Honorable John G. Koeltl, Unite'd States District Judge:

The parties in the above-captioned personal injury action seek the Court’s
approval of a structured settlement on behalf of three infant petitioners, including
the award of costs and attorneys’ fees to petitioners’ counsel, and to maintain the
action under seal. For the reasons stated beloW, l recommend that the settlement
be approved in full, but that the action be unsealed and all pleadings and related
documents be filed on the docket in redacted form.

l. BACKGROUND
A. Facts

This lawsuit arises from an event that Occurred on February 27, 2017, When

petitioner SD and her family Were staying at respondents’ hotel located in Nevv

York City. Verified Petition (“Petition”) 1l‘ll 4-5.1 On that day, SD, a 22-month-old

 

1 The Court refers to the infant petitioners by their initials, as did petitioners’
counsel in his supplemental declaration in support of the application for settlement
approval.

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infant, was found in the family’s hotel room holding a hypodermic needle; SD had
likely sustained a puncture wound to her lower lip. Id. il 6. The needle is alleged

not to have come from any of SD’s family members, but was believed to have been

 

left in the room by an unknown person. Id. il 7.

SD was taken to a hospital where she received prophylactic treatment for
HIV prevention. Id. il 9. When the family returned to their home state, SD
continued receiving treatment Id. ilil 10-11. Soon after, SD and her two infant
siblings AD and LD were all tested for HIV and other viruses. ]d. il 12. All three
were cleared and no further treatment was advised. Id. ilil 13-16.

On l\/larch 17, 2017, the mother of SD, AD, and LD retained a New York-
based law firm, l\/[olod Spitz & DeSantis, P.C., to take “all legal steps against any
person or corporation through trial and appeal.” Supplemental Declaration in
Support dated February 5, 2019 (“Supp. Decl.”) at 2. The firm was retained on a
contingency fee basis and would receive one-third of any amount recovered. 1012
On July 23, 2018, respondents offered to settle the case for a total sum of $130,000,
which petitioners accepted Petition il 23. The proposed distribution of the
settlement proceeds is as follows: 1) $50,848.52 in annuities to SD; 2) $16,949.51 in
annuities to LD; 3) $16,949.51 in annuities to AD; 4) $1,555.48 in medical eXpenses;

and 5) $43,696.98 in attorneys’ fees and disbursements Id. il 25.

 

2 The firm further agreed to share one-third of the total attorneys’ fees with the
introducing law firm in petitioners’ home state. Supp. Decl. at 2.

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B. Procedural History
On December 13, 2018, petitioners filed a verified petition in this District to

approve the structured settlement and a proposed infant compromise order, as well

 

as a motion to seal the proceedings3 The Court preliminarily granted the motion to
seal “absent further order of this Court.” Order to Seal, dated December 13, 2018.
On December 26, 2018, this case was referred to me for a report and
recommendation On January 15, 2019, l directed petitioners to submit further
briefing on the fairness of the settlement, to notify and serve respondents, and to
provide legal authority for keeping the case under seal. On February 4, 2019,
petitioners submitted a supplemental declaration On February 6, 2019,
respondents provided a declaration in support of the petition.4
II. DISCUSSION
A. Legal Standards
1. Infant Comprornise Order
ln this District, Local Civil Rule 83.2(a)(1) requires that “[aln action by or on

behalf of an infant or incompetent shall not be settled or compromised . . . without

 

3 Petitioners’ counsel had previously obtained a case number in this District (18-CV-
4171) against respondents on l\/lay 9, 2018. However, “this action was allowed to
lapse and was administratively closed.” Attorney Affirmation il 21. ln his
supplemental declaration, petitioners’ counsel contended that the “matter was
strategically allowed to lapse because it was not on the merits and propelled
negotiations.” Supp. Decl. at 6. When the parties reached an impasse in l\/lay 2018,
the case number was used to “keep up pressure towards resolution.” Id.

4 These submissions were all sent to the Court by email, and the Court will have
them filed under seal until further Order of the Court.

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leave of the Court embodied in an order, judgment or decree. . . .” To approve a
settlement involving infants, a court must determine “whether: (1) the best

interests of the infant are protected by the terms and conditions of the proposed

 

settlement; and (2) the proposed settlement, including any legal fees and expenses
to be paid, as part of the proposal, are fair and reasonable.” D. i). City of New York,
14-CV-7131 (JGK) (HBP), 2016 WL 4734592, at *2 (S.D.N.Y. Aug. 22, 2016)
(internal citations and quotations omitted), adopted by, 2016 WL 4735365 (S.D.N.Y.
Sept. 9, 2016).
2. Sealing Order
There is a “‘common law right of public access to judicial documents,’ which is
‘firmly rooted in our nation’s history’ and which creates a rebuttable ‘presumption’
in favor of public access to judicial documents.” Scott u. Gmham, 16-CV-2372 (KPF)
(JLC), 2016 WL 6804999, at *1 (S.D.N.Y. Nov. 17, 2016) (quoting Lugosch l).
Pyrczmid Co., 435 F.3d 110, 119 (2d Cir. 2006)). However, a court may seal judicial
documents if “closure is essential to preserve higher values and closure is narrowly
tailored to serve that interest.” Lugosch, 435 F.3d at 119.
B. Analysis
1. Infant Compromise Order
a. The Infants’ Best Interests Are Protected by the Settlement
ln assessing the first prong of the analysis, “a court must give ‘significant
deference’ to the natural parent’s or guardian’s belief that the proposed settlement

is in the best interest of the infant plaintiff.” D.L.G. ex rel. Gomez U. United States,

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lZ-CV-7526 (RA), 2015 WL 6736163, at *'7 (S.D.N.Y. Nov. 3, 2015) (quoting J.A. z).
Ja-Ru, Inc., 08-CV-3640 (DAB) (KNF), 2011 WL 990167 (S.D.N.Y. l\/lar. 15, 2011)).

A court may also consider the method of disbursement to the infant. See id.

 

(plaintiffs placed money in interest-bearing account “for sole use and benefit” of
infant).

ln this case, SD, AD, and LD’s natural parents have approved the settlement
Petition ilil 24, 27 , 32. Additionally, the parents have waived any claims on their
own behalf; the settlement proceeds are for the sole use and benefit of the infants.
Id. ilil 25(£), 33; Supp. Decl. at 3; See D.L.G. ex rel. Gomez, 2015 WL 6736163, at *7.
Furthermore, the settlement is structured in the form of an annuity contract
executed by a qualified insurer, funded by respondents, which will provide periodic
payments to the infants as they mature. Petition ilil 25(£), 26; see N.Y. C.P.L.R.
§ 1206(0) (court “may order that a structured settlement agreement be executed,
which shall include any settlement whose terms contain provisions for the payment
of funds on an installment basis, provided that with respect to future installment
payments, the court may order that each party liable for such payments shall fund
such payments, in an amount necessary to assure the future payments, in the form
Of an annuity contract executed by a qualified insurer”). Because the annuities will
grow over time, SD is guaranteed total payments of $110,922.09 by year 2042, LD is
guaranteed total payments of $25,322.15 by year 2032, and AD is guaranteed total
payments of $29,562.90 by year 2036. Id. il 25(f). Accordingly, l find that the

settlement protects the infants’ best interests

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b. The Settlement IS Fair and Reasonable
To determine whether a settlement is fair and reasonable, a court compares

“the terms of the compromise with the likely reward of litigation.” Martegani U.

 

Cirrus Design Corp., 687 F. Supp. 2d 373, 377 (S.D.N.Y. 2010) (quoting Neilson U.
Colgate-Palmoliue Co., 199 F.3d 642, 654 (2d Cir. 1999)). Courts must “form an
educated estimate of the complexity, expense, and likely duration of such litigation
. . . and all other factors relevant to a full and fair assessment of the wisdom of the
proposed compromise.” Mateo l). United States, 06-CV-2647 (KNF), 2008 WL
3166974, at *2 (S.D.N.Y. Aug. 6, 2008) (quoting Newmcm l). Stein, 464 F.2d 689, 692
(2d Cir. 1972)).

There is a strong presumption that a settlement is fair and reasonable where
‘“(i) the settlement is not collusive but was reached after arm’s length negotiation;
(ii) the proponents have counsel experienced in similar cases; land] (iii) there has
been sufficient discovery to enable counsel to act intelligently.’” Bland U. City of
New York, 14-CV-5398 (AT) (DCF), 2016 WL 3443584, at *2 (S.D.N.Y. June 1, 2016)
(quoting Orlcmdt' ex rel. Colon, U. Navistar Leasing Co., 09-CV-4855 (THK), 2011 WL
3874870, at *2 (S.D.N.Y. Sept. 2, 2011)). Courts may also consider other factors,
such as the risk of establishing damages D. z). City of New York, 2016 WL 4734592,

at *3 (citing City ofDetroit u. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974)).

i. The Settlement Was Reached after Arm’s-Length
Negotiations

Petitioners’ counsel submitted an affirmation stating that he “lhasl neither

directly nor indirectly become concerned in the settlement of this action at the

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instance of a party or person opposing, or with interest adverse to the infants, nor

received nor will receive any compensation from such a party.” Attorney

Affirmation il 33; see Ca,mpbell U. City ofNew York, 15-CV-2088 (PAE), 2015 WL

 

7019831, at *3 (S.D.N.Y. Nov. 10, 2015); see also N.Y. C.P.L.R. § 1208(b) (requiring
such language in affidavit supporting proposed infant compromise order). Nothing
in the record suggests that the settlement agreement was not made at arm’s length.

ii. Petitioners’ Counsel IS Experienced in Medical
Malpractice and Tort Cases

Petitioners’ counsel has practiced law for 31 years, has “personally handled
approximately fifteen (15) associated medical malpractice and tort cases involving
infections of various types,” and has “particular experience and knowledge
regarding HIV-AIDS exposure. . . .” Supp. Decl. at 4. He has stated his familiarity
both with tort law and with “viral transmission, cross-contamination, viral testing,
anti-viral protocols, protocol side-effects, risk analysis and associated issues.” Id. at
5. As such, counsel is experienced and able to negotiate a settlement involving
significant medical risks.

iii. Sufficient Research Was Conducted

Because this case was resolved prior to litigation, petitioners’ counsel did not
conduct any discovery as part of a lawsuit. However, in his supplemental
declaration, petitioners’ counsel stated that he spent 89.8 hours on the case, which
included reviewing the infants’ medical records, consulting with medical experts,
researching the hotel and any history of prior incidents, participating in settlement

negotiations with respondents, conducting legal research on similar cases, and

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communicating with petitioners’ parents and local counsel. Supp. Decl., Ex. B. The
record thus suggests that petitioners’ counsel had sufficient information to conduct

meaningful settlement negotiations

 

iv. The Risk of Establishing Damages Was High

ln addition, the difficulty of establishing damages in this case would have
presented a high bar to recovery. All three infants have tested negative for HIV or
other diseases (see Supp. Decl. at 10), and thus do not have an action based on
physical damage beyond the initial needle stick and anti-viral treatment
Petitioners would also have difficulty pursuing damages based on the negligent
infliction of emotional distress. As petitioners’ counsel notes: “ll\/l]any plaintiffs are
unable to prove physical manifestations of bodily contamination, land] New York
courts routinely grant summary judgment for defendants on emotional distress
claims based on plaintiffs’ fear of getting . . . AIDS.” Id. at 9 (citing In re Methyl
Tertio,ry Butyl Ether (MTBE) Prod. Lia,b. Litig., 379 F. Supp. 2d 348, 432 (S.D.N.Y.
2005)).

Furthermore, under New York law, in order to state a cause of action, “a
claimant who has not tested positive for HIV must establish that due to the
negligence of another party, the claimant was exposed to HIV through a
scientifically-accepted method of transmission and the source of the allegedly
transmitted blood or fluid was HlV-positive.” Siegrist U. State, 868 N.Y.S.2d 670,
671 (2d Dep’t 2008) (emphasis added) (citing Ornstein i). New York City Health &

Hosps. Corp., 10 N.Y.3d 1, 6 (2008)). ln this case, unlike in UI"nstein, petitioners

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have not contended that the needle contained blood or fluid that was HlV-positive.
Petitioners’ counsel has stated that testing the needle itself, because of the chance

of “false positives[,l . . . is simply not a criteria in deciding to prescribe anti-HIV

 

protocols for those who have been punctured.” Supp. Decl. at 10. Because
petitioners would not have been able to establish that the needle transmitted HIV-
positive blood or fluid to SD, they would have had difficulty establishing a cause of
action (or damages) for negligent infliction of emotional distress

Even if petitioners could demonstrate that the needle tested HlV-positive,
SD, who sustained the injury, was 22 months old and “could not articulate any fear
of disease or needles because of the accident.” Supp. Decl. at 10, Because the
infants sustained no permanent physical harm, and there is no evidence that any of
the infants have sustained emotional or psychological harm, petitioners would
likely have faced difficulties establishing damages

Accordingly, after comparing “the terms of the compromise with the likely
reward of litigation,” l find that the settlement is fair and reasonable Martegqni,
687 F. Supp. 2d at 377.

c. The Attorneys’ Fees Sought Are Reasonable

“When approving an infant’s compromise, the court [alsol has an obligation to
approve the reasonableness of attorneys’ fees.” D. U. City of New York, 2016 WL
4734592, at *5 (quoting Sanchez 1). MTVNetworks, 10-CV-7854 (TPG), 2012 WL
2094047, at *2 (S.D.N.Y. June 11, 2012)). “lClontingency-fee agreements are to be

treated by the Court as ‘advisory only,’ . . . and the contract between an infant’s

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attorney and legal guardian is only ‘one of the elements which the judge may take
into consideration in fixing reasonable compensation.”’ Campbell, 2015 WL

7019831, at *4 (quoting White U. DaimlerChrysler Corp., 871 N.Y.S.2d 170, 173 (2d

 

Dep’t 2008)). “In assessing whether the requested attorneys’ fee is reasonable, the
Court examines the contemporaneous time records, length of litigation, complexity
of the case, resources needed to prove the case, [and] expertise of the lawyer. . . .”
D.L.G. ex rel. Gomez, 2015 WL 6736163, at *9 (citing Orlander 1). McKnight, 12-CV-
4745 (HBP), 2013 WL 4400537, at °"7 (S.D.N.Y. Aug. 15, 2013)).

In this case, the proposed settlement allocates $43,151.52 to petitioners’
counsel in fees Petition il 25. This amount is approximately 33.2% of the total
settlement fund; petitioners had agreed that counsel would receive one-third of the
amount recovered when the firm was retained Id. il 22. Petitioners’ counsel also
submitted contemporaneous time records with a detailed list of services performed
by the firm, totaling 98 hours Supp. Decl., Ex. B. Given the amount of work
undertaken by counsel, the sensitive nature of the incident, counsel’s experience
with HIV cases, and the resulting favorable settlement for petitioners, the fee
arrangement is fair and reasonable l\/loreover, one-third contingency fee
arrangements for infant compromise actions are “routinely approved” in this
District. D. v. City ofNew York, 2016 WL 4734592, at *7 (citing qund, 2016 WL

3443584, at *5). Accordingly, l recommend approving the attorneys’ fees sought in

this case.

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2. Motion to Seal
At the outset of the case, petitioners’ counsel requested that the petition be

sealed “because the claims of the infant petitioners, and their mother/natural

 

guardian, involves potential exposure to the HIV Virus.” Declaration in Support of
l\/lotion to Seal il 4. On January 15, 2019, l requested additional legal authority
from petitioners to support their application to maintain the action under seal, and
presented the option of “redacting the infants’ names and financial information,”
with the filings otherwise made public.

In their supplemental submissions, petitioners have renewed their request to
keep the case entirely under seal. Petitioners rightly observe that “Civil Rights
laws have been enacted because of the HlV/AIDS stigma . . . [tol protect individuals
with [HIV or AIDS] from discrimination on the basis of their disability.” Supp.
Decl. at 13. However, as petitioners themselves have acknowledged, the infants
have been cleared of HlV and AIDS. l)etition ilil 13~16. Moreover, petitioners have
not explained why redactions limiting the infants’ identities to initials would not
suffice to protect their privacy interests lndeed, in the case discussed most
extensively by petitioners (see Supp. Decl. at 14~15), Hirschfeld U. Stone, the court
granted a “limited sealing order . . . . [Plaintiffs] only request that documents which
reveal their identities be sealed. The public will still have access to information in
this action via documents that reveal plaintiffs onlv by their initials.” 193 F.R.D.

175, 193 (S.D.N.Y. 2000) (emphasis added). As in Hirschfeld, a limited sealing

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order that redacts petitioners’ names and other identifying information in public
filings would protect the privacy interests of the infants

While petitioners rely on several other cases to support their motion to seal,

 

none supports their request for a total sealing. ln Combier u. Portelos, for example,
the court denied defendant’s request to unseal specific filings 17-CV-2239 (MKB)
(RLl\/l), 2018 WL 4678577, at *8 (E.D.N.Y. Sept. 29, 2018). However, the entire case
was not sealed. The court sealed defendant’s “voluminous, and at times irrelevant”
filings that contained allegedly false information about plaintiffs non-party
husband and irrelevant details about her physical disability ]d. at *9. ln this case,
none of the filings is voluminous false, irrelevant, or filed maliciously, and thus
require sealing for those reasons

Petitioners also attempt to distinguish this case from Sal)arese u. Cirrus
Design Corp., 09~CV-1911 (JGK), 2010 WL 815027, at *1 (S.D.N.Y. l\/lar. 9, 2010), in
which the court found there had been an insufficient showing that an infant
compromise hearing, report and recommendation, and order need be filed under
seal, and Doe U. Deer Mountat`n Day Camp, lnc., 682 F. Supp. 2d 324, 331 (S.D.N.Y.
2010), in which only the last name of an HlV-positive child was redacted. They note
that this petition was “not litigated” and contend that “[t]he public has no interest
in the case at bar and no claim against the respondents exists beyond the accident
at issue.” Supp. Decl. at 16-17. Petitioners have not cited to any authority to
support sealing this case based on these distinctions Regardless of whether this

action was litigated, the Court will issue a judicial document in the form of “an

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order, judgment or decree” under Local Civil Rule 83.2(a)(1), which presumes a
public right to access Furthermore, it is plainly in the public interest for the

incident alleged in the petition and its location, as well as the amount of the

 

settlement, to be publicly available information See, e.g., Camac 1). Long Beach
City Sch. Dist., 09-CV-5309 (MLB) (GRB), 2012 WL 3277228, at *3, n.3 (E.D.N.Y.
July 25, 2012) (rejecting plaintiffs’ request to keep proposed settlement amount
confidential as plaintiffs’ interests outweighed “both by the public right to access
and by the interests in providing a fulsome exploration of the proposed infant
compromise”), adopted by, 2013 WL 991355 (E.D.N.Y. l\/lar. 13, 2013); Joji u. Kquit
Airways C'orp., 08-CV-4339 (JO), 2010 WL 1286362, at *1 (E.D.N.Y. Apr. 2, 2010)
(rejecting attempt to seal settlement proceedings of an infant compromise).
Respondents have also filed a declaration in support of petitioners’ motion to
maintain all of the files in the case under seal. They contend that this case “should
remain under seal due to the nature of the allegations of H.l.V. exposure to infants,
lasl well as potential deleterious ramifications to respondents The hotel, its
patrons, and its guests should not be stigmatized by allegations of exposure to
H.I.V. infection because there is no evidence of culpability or actual H.I.V.
exposure.” Declaration of John L.A. Lyddane dated February 6, 2019, il 6.
However, respondents have not cited to any authority that the public right to access

to judicial documents can be overcome simply because of “potential deleterious

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ramifications” to a party’s business5 ln addition, petitioners themselves
acknowledge that the infants have been cleared of HIV and that the “risk of

establishing liability was substantial.” Supp. Decl. at 8. No finding has been made

 

that there was “evidence of culpability or actual H.l.V. exposure,” so respondents’
concern to that end is unfounded

While “[o]rdinarily, settlements of civil lawsuits are private arrangements
between the parties . . . land] the court ‘normally plays no role whatever, standing
‘indifferent’ to the terms the parties have agreed to,’ [iln certain types of cases . . .
[such as an infant compromise order], judicial scrutiny of a proposed settlement is
required.” Geltzer U. Andersen Worldwide, S.C., 05~CV-3339 (GEL), 2007 WL
273526, at *1 (S.D.N.Y. Jan. 30, 2007) (quoting Janus Ft`lms, Inc. u. Miller, 801 F.2d
578, 582 (2d Cir. 1986)). In such cases, there is a “presumption of access” to the
judicial proceedings Id. at 7’*2 (citing Um`ted States u. Amodeo, 71 F.3d 1044, 1048
(2d Cir. 1995)); see also Agence Frcmce Presse i). Morel, 10-CV-2730 (AJN), 2014 WL
5568562, at *2 (S.D.N.Y. Nov. 3, 2014) (“lnformation on which a court must rely to
determine the motion before it-such as the settlement amounts contained in the
Defendants’ memorandum . . . is given a strong presumption of public access.”).
This presumption is “not easily overcome,” and respondents have not demonstrated
a sufficient basis to justify sealing all of the filings in this case. Files U. Federated

Payment Sys. USA, Inc., 11-CV-3437 (JS) (GRB), 2013 WL 1874602, at *3 (E.D.N.Y.

 

5 Nor have they cited any authority in support of their request that the financial
terms of the infant compromise order remain sealed

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Apr. 2, 2013). ln addition, unlike petitioners, respondents have no medical privacy
Or protection of minors claim that would justify a redaction of the business’s names

Accordingly, I recommend that the parties be directed to file redacted

 

versions of all submissions in this case. The redactions should be limited to the
infants’ and parents’ names, which should be listed by initials only, and any
references to birth dates, addresses, and any other information that could lead to
identification of the infant petitioners
III. CONCLUSION
For the reasons set forth above, l recommend that the structured settlement
be approved in its entirety. l further recommend that the case be unsealed and the

parties file redacted versions of all of the documents in the case.

PROCEDURE FOR FILING OBJECTIONS
TO THIS REPORT AND RECOMMENDATION

Given that all other filings have been made under seal, the Court will also
file its report and recommendation under seal and email a copy to counsel for
petitioners and respondents Pursuant to 28 U.S.C. § 636(1))(1) and Rule 72(b) of
the Federal Rules of Civil Procedure, the parties shall have fourteen (14) days from
service of this Report to file written objections See also Fed. R. Civ. P. 6. Such
objections, and any responses to such objections shall be filed under seal with the
Clerk of Court, with courtesy copies delivered to the chambers of the Honorable
John G. Koeltl and to the chambers of the undersigned United States Courthouse,
500 Pearl Street, New York, ll\lew York, 10007. Any requests for an extension of

time for filing objections must be directed to Judge Koeltl.

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FAILURE TO FILE OBJECTIONS WITHIN FOURTEEN (14) DAYS
WILL RESULT IN A WAIVER OF OBJECTIONS AND WILL PRECLUDE

APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72. S'ee Thomas U.

 

Arn, 474 U.S. 140 (1985); Wagner & Wagner, LLP o. Atkinson, Hasleins, Nellls,

Brittingham, Glaalol & Carwile, P.C., 596 F.3d 84, 92 (2d Cir. 2010).

M L. COTT
Unite States Magistrate Judge

Dated: l\/larch 13, 2019
New York, New York

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